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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                             OWENSBORO DIVISION

IN RE:         JULIE FAYE VAUGHN                            CASE NO. 21-40215
               DEBTOR                                       Chapter 7

JULIE FAYE VAUGHN                                                                    PLAINTIFF

VS.                                                                  A.P. NO: 21-04011

Med-1 Solutions, LLC                                                               DEFENDANT

                           MOTION FOR DEFAULT JUDGMENT
                                  WITH AFFIDAVIT

       Comes the Plaintiff and moves the Court to enter a Default Judgment against the Defendant,
Med-1 Solutions, LLC, who has failed to plead or otherwise defend as required by the Bankruptcy
Rules and the Federal Rules of Civil Procedure. An affidavit of default is attached hereto and
incorporated herein by reference.
       Therefore, pursuant to Bankruptcy Rule 7055 and Rule 55(a) of the Federal Rules of Civil
Procedure, and in accordance with the supporting affidavit which is attached hereto and made a part
hereof, the Court is hereby requested to enter a default judgment against the Defendant.
                                             DEITZ, SHIELDS & FREEBURGER, LLP
                                             P. O. Box 21
                                             Henderson KY 42419-0021
                                             Tele: (270) 830-0830
                                             Fax: (270) 827-1492
                                             Email: sfreeburger@dsf-atty.com

                                             /s/ Sandra D. Freeburger
                                             Sandra D. Freeburger, Attorney for Plaintiff

                                 CERTIFICATE OF SERVICE

       I hereby certify that I have sent a true, accurate and complete copy of the foregoing
Application to Clerk for Entry of Default via U.S. Mail with postage prepaid to the Defendant, Mr.
William Joseph Huff II, a member, Med-1 Solutions, LLC, 517 US 31 North, Greenwood, Indiana
46142-3932, on this 11th day of August 2021.

                                                     /s/ Sandra D. Freeburger
                                                     Sandra D. Freeburger
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IN RE:          JULIE FAYE VAUGHN                             CASE NO. 21-40215
                DEBTOR                                        Chapter 7

JULIE FAYE VAUGHN                                                                       PLAINTIFF

VS.                                                                    A.P. NO: 21-04011

Med-1 Solutions, LLC                                                                 DEFENDANT

 AFFIDAVIT SUPPORTING APPLICATION TO CLERK FOR ENTRY OF DEFAULT

        Affiant, being duly sworn, deposes and says:

        1. Affiant is attorney of record for the Plaintiff and has personal knowledge of the facts set

forth in this affidavit.

        2. That Defendant was duly served with a copy of Plaintiff’s complaint on June 14, 2021.

        3. That more than 30 days have elapsed since the date on which said Defendant was served

with summons and a copy of the complaint.

        4.    That said Defendant has failed to plead or otherwise defend as provided by the

Bankruptcy Rules and the Federal Rules of Civil Procedure.

        5.   That this affidavit is executed pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure for the purpose of enabling plaintiff to obtain an entry of default against said Defendant.

        6. That the Defendant is not now, nor has it been throughout this adversary proceeding and

throughout the activities described in the Complaint a member of the armed forces of the United

States serving overseas.

        7. That the Defendant is not a minor and is not incompetent.

        8. That the Plaintiff is owed $1,207.24 a sum certain, by the Defendant.
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     Signed this 11th day of August 2021.

                                               /s/ Sandra D. Freeburger
                                               Sandra D. Freeburger

STATE OF KENTUCKY
COUNTY OF HENDERSON

     SWORN TO AND SUBSCRIBED before me this 11th day of August 2021.

                                               /s/ Stacy L. Cain
                                               ID KYNP 3331
                                               Commission expires: 3/17/24
